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              EXHIBIT 1
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                                                                                     1/13/2021 10:32 AM
                                                                                     Rhonda Barchak, District Clerk
                                                                                     Brazoria County, Texas
                                                                                     111153-CV
                                                                                     Cathy Richard, Deputy


                                             111153-·CV
                                   CAUSE NO. - - - · - - -

 REBECCA LIVOTI                                   §       IN THE DISTRICT COURT
 Plaintiff,                                       §
                                                  §
~                                                 §
                                                  §
                                                  §       - - - - JUDICIAL DISTRICT
ANTHONY LIVOTI, PETER                             §
CAMMARANO AND CHAPELWOOD                          §
UNITED METHODIST CHURCH, LAKE                     §
JACKSON, TX                                       §       OF BRAZORIA COUNTY,
Defendants.                                       §       TEXAS


                            PLAINTIFF'S ORIGINAL PETITION

       NOW COMES Plaintiff Rebecca Livoti, complaining of Defendants Anthony Livoti,

Peter Cammarano and Chapelwood United Methodist Church, Lake Jackson, TX, and for cause

of action would show the Court the following:

                               DISCOVERY CONTROL PLAN

       1.      As provided in Rule 190, Texas Rules of Civil Procedure, Plaintiff intends to

conduct discovery under Level 2.

                                            PARTIES

       2.      This Petition is filed by Rebecca Livoti, Plaintiff, an individual resident of Texas.

The last three digits of Plaintiffs driver's license number are XXX. The last three digits of

Plaintiffs Social Security number are XXX.

       3.     Defendant, Anthony Livoti, is an individual who may be served with process at

Defendant's residence by personal delivery at 610 Oyster Creek Dr., Richwood, TX 77531. This

Court has jurisdiction over Anthony Livoti because said Defendant is a resident of Texas.




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        4.      Defendant, Peter Cammarano, is an individual who may be served with process at

 Defendant's place of business by personal delivery at 350 Willow Dr., Lake Jackson, TX 77566.

 This Court has jurisdiction over Peter Cammarano because said Defendant is a resident of Texas.

        5.      Defendant, Chapelwood United Methodist Church, Lake Jackson, TX, is a Texas

nonprofit corporation and Defendant may be served with process by serving Peter Cammarano,

its registered agent, by personal delivery at the registered office located at 300 Willow Dr.. , Lake

Jackson, Texas 77566. This Court has jurisdiction over Chapelwood United Methodist Church,

Lake Jackson, TX because said Defendant is a Texas corporation with its principal office in

Brazoria County, Texas.

                                              VENUE
        6.     Venue is proper in this county in that Defendants resided in Brazoria County at

the time this cause of action accrued.

                                         JURISDICTION

        7.     The damages sought in this suit are wirhin the jurisdictional limits of the Court.

Plaintiff seeks monetary relief over $250,000 but not more than $1,000,000.

                                              FACTS

       8.      At all relevant times Plaintiff was employed by Defendant Chapelwood United

Methodist Church (Chapelwood) as a pre-school teache:r.

       9.      On or about August 20, 2020, Defendant Anthony Livoti (from whom Plaintiff

was recently divorced) posted a video on a widely accessible social media platform in which he

stated Plaintiff was "narcissistic, and emotionally/verba.lly abusive."

       10.     Upon information and belief, sometime after publication of the video, Defendant

Anthony Livoti (who was also employed at Chapelwood) told Plaintiffs supervisor that she had

sexually assaulted him, and verbally and mentally abus,ed him.

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        11.     On August 31, 2020 Defendant Chapelwood terminated Plaintiffs employment.

 The termination letter Chapelwood provided cited Plaintiff's allegedly abusive behavior towards

 her fonner husband as a reason for the tennination.

        12.     In a staff meeting on that same day, Defendant Peter Cammarano stated to

 multiple church employees (many of whom had no affiliation with the church other than their

employment) that Mrs. Livoti had been terminated for being "abusive."

        13.     One of the staff members, who was familiar with Mrs. Livoti's domestic situation

and believed the allegation to be false, asked for a meeting with church officials to express her

concerns about the falsity of the allegations. In that meeting, attended by Defendant Senior

Pastor Peter Cammarano, Associate Pastor Josh L;::mons and Preschool Director Jennifer

Burkhart, Defe11dant Peter Cammarano stated to the staff member that Plaintiff had sexually

assaulted Defendant Anthony Livoti and was physically, verba11y and mentally abusive towards

him.

        14.    Prior to Plaintiff's tem1ination, no one from Chapelwood spoke to her or asked

her about the allegations. All of the allegations lodged against Plaintiff are categorically false.

        15.    In addition, the Chapelwood Teacher Policies and Procedures Handbook (the

Handbook) provides that employees are to be paid overtime rates (time and half) in accordance

with federal law.

       16.     Chape1wood failed to pay Plaintiff the promised overtimerate for over 120 hours

worked in 2019 and 2020.

                                         DEFAMATION

       17.     All Defendants, who are all non-media defendants, published.false statements of

fact regarding Plaintiff: who is a private plaintiff. These statements, none of which are of a

public concern, were defamatory on their face. With regard to the truth of the statements, all

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Defendants acted with either actual malice or negligence.        As a result, Plaintiff suffered a

pecuniary injury. In addition, Plaintiff's injuries are presumed in that the statements injured

Plaintiff in her occupation, and imputes crimes and sexual misconduct on the part of Plaintiff.

        18.    At all relevant times, Defendant Peter Cammarano was acting within the course

and scope of his conduct when he made the false and defamatory statements about Plaintiff.

Therefore, Defendant Chapelwood is liable for the defamatory statements under the doctrine of

respondeat superior.

                                   BREACH OF CONTRACT

        19.    While the employment agreement between Plaintiff and Defendant Chapelwood

was "at will;' Defendant Chapelwood's promise to pay overtime rates in accordance with federal

law constituted a unilateral contract. Once Plaintiff performed in consideration for the promise,

Defendant Chapelwood became bound to pay the overtime rates as promised.

       20.     Defendant Chapelwood's failure to pay Plaintiff overtime rates in accordance

with the FLSA constitutes a breach of contract under Texas law. Plaintiff was damaged as a

result of Defendants' breach.

                                           DAMAGES

       21 .    Plaintiff seeks the following damages:

               a.      Actual damages, including but not limited to economic damages;

              b.       General damages, including but not limited to mental anguish and damage

       to Plaintiffs reputation;

              c.       Special damages, including but not limited to loss of earning capacity, loss

       of past and future income, loss of employment;

              d.       Nominal damages;

              e.       Exemplary damages.

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                               ATTORNEY'S FEES AND COSTS

        22.     Plaintiff requests judgment for reasonable attorney's fees and costs pursuant to

Section 38.001, Texas Civil Practice and Remedies Code.

                                         JURY DEMAND

        23      Plaintiff hereby requests a jury trial and the jury fee is tendered herewith.

                                 REQUEST FOR DISCLOSURE

        24.     As provided in Rule 194, Texas Rules of Civil Procedure, Plaintiff requests

disclosure of all items listed in Rule 194.2, Texas Rules of Civil Procedure.

                                             PRAYER

        Plaintiff prays that citation be issued commanding Defendants to appear and answer

herein and that Plaintiff be awarded judgment against Defendants, jointly and severally, for all

damages as set forth above, reasonable and necessruy attorney's fees, pre-judgment interest,

post-judgment interest, costs of Court and for all other relief to which Plaintiff is entitled both in

equity and at law.


                                               Respectful.ly submitted,



                                              Robert A. Whitley
                                              Attorney for: Plaintiff
                                              Bar no: 24056522
                                              12621 Featherwood Dr.
                                              Suite 282
                                              Houston, TX 77034
                                              Phone: (281) 741-5225
                                              Fax: (281) 741-9549
                                              Email: robert@whitlegal.com




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